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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 20 CR 299
      v.
                                           Judge Robert M. Dow, Jr.
HARDY LEE BROWNER

GOVERNMENT’S UNOPPOSED MOTION FOR PROTECTIVE ORDER
           PURSUANT TO SECTION 3 OF THE
      CLASSIFIED INFORMATION PROCEDURES ACT

      The United States of America, by and through JOHN R. LAUSCH, Jr.,

United States Attorney for the Northern District of Illinois, moves for a

Protective Order pursuant to Section 3 of the Classified Information

Procedures Act (“CIPA”), Title 18, U.S.C. Appendix III, to allow cleared counsel

for the defendant to review classified material. The government also attaches

a proposed Protective Order.

      This a criminal matter in which the grand jury has returned an

indictment charging the defendant with knowingly and willfully make a

materially false, fictitious, and fraudulent statement and representation to the

FBI in a matter involving international terrorism, in violation of 18 U.S.C. §

1001(a)(2). The government anticipates providing cleared counsel for the

defendant with access to material classified at the “Secret” level. The proposed

Protective Order Pursuant to Section 3 of CIPA will give properly cleared

defense counsel access to classified discovery and at the same time restrict
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defense counsel from sharing the material itself, or its contents, with anyone

other than their own properly cleared employees or other personnel (who will

also be required to obtain the proper clearance) who are necessary to assist in

the preparation of this case.

       Section 3 of CIPA mandates that the district court issue a protective

order upon the motion of the United States to protect against the disclosure of

any classified information that is disclosed by the government to the defense.

Section 3 was intended “to codify the well-established practice, based on the

inherent authority of federal courts, to issue protective orders,” United States

v. Pappas, 94 F.3d 795, 801 (2d Cir. 1996) (quoting CIPA legislative history

H.R. Rep. No. 831, 96th Cong., 2d Sess., pt. 1 (1980)), as well as to supplement

the district court’s authority under Federal Rule of Criminal Procedure

16(d)(1) to issue protective orders in connection with the discovery process. 1 In

contrast to Rule 16(d)(1)’s discretionary authority, however, Section 3 “makes

it clear that protective orders are to be issued, if requested, whenever the

government discloses classified information to a defendant in connection with

a prosecution, e.g., Brady and Jencks material.” Id.

       For the reasons stated, the government requests that the Court issue the

proposed Protective Order Pursuant to Section 3 of the Classified Information


       1      Rule 16(d)(1) provides in relevant part that “[a]t any time the court may, for
good cause, deny, restrict, or defer discovery or inspection, or grant other appropriate relief.”


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Procedures Act so that appropriately cleared counsel for the defendant may

review the classified discovery material, if they wish to do so, and so that

sensitive discovery materials may be disseminated to the defense.

                                        Respectfully submitted,


                                        JOHN R. LAUSCH, Jr.
                                        United States Attorney

                                  By:   /s/ Barry Jonas
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Dated: July 13, 2020




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